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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

Andrew R. Perrong
1657 The Fairway #131
Jenkintown, PA 19046

Plaintiff

Case No.
vs.
Viasat, Inc.
1209 Orange St. JURY TRIAL DEMANDED
Wilmington, DE 19801
Defendant.
COMPLAINT
Preliminary Statement
1, As the Supreme Court recently explained, “Americans passionately disagree

about many things. But they are largely united in their disdain for robocalls. The Federal
Government receives a staggering number of complaints about robocalls—3.7 million
complaints in 2019 alone. . . . For nearly 30 years, the people’s representatives in Congress have
been fighting back.” Barr v. Am. Ass'n of Pol. Consultants LLC, 140 S. Ct. 2335, 2343 (2020).

2s Plaintiff Andrew R. Perrong (“Plaintiff”), brings this action under the Telephone
Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a federal statute enacted in response to
widespread public outrage about the proliferation of intrusive, nuisance calling practices. See
Mims v. Arrow Fin. Servs., LLC, 132 8. Ct. 740, 745 (2012).

3. The Plaintiff never consented to receive the calls, which were placed to him for

telemarketing purposes.
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Parties
4, Plaintiff Andrew R. Perrong is a Pennsylvania resident, and a resident of this
District.
2. Defendant Viasat, Inc. is a Delaware corporation headquartered in Carlsbad,

California. Its address for service of process is 1209 Orange St. Wilmington, DE 19801.
Defendant Viasat, Inc. provides satellite internet services within this District.

6. The Defendant engaged in calling activity into this District, as it did with the

Plaintiff.
Jurisdiction & Venue
a The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740 (2012).
8. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of
the events or omissions giving rise to the claim occurred in this District, as the automated calls

and text messages to the Plaintiff were placed into this District.

The Telephone Consumer Protection Act

9. In 1991, Congress enacted the TCPA to regulate the explosive growth of the
automated calling industry. In so doing, Congress recognized that “[u]nrestricted telemarketing .

..can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub.

L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

The TCPA Prohibits all Automated Calls To Protected Numbers
10. |The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an
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automatic telephone dialing system or an artificial or prerecorded voice .. . to any telephone
number assigned to a paging service, cellular telephone service, specialized mobile radio service,
or other radio common carrier service, or any service for which the called party is charged for the
call.” See 47 U.S.C. § 227(b)(1)(A) (iii).

11. Congress singled out these services for special protection either because Congress
realized their special importance in terms of consumer privacy and therefore protected them (as
in the case of cellular phones), or because the numbers are assigned to services, like Mr.
Perrong’s VoIP service, for which the called party is charged, thus shifting the cost of automated
or prerecorded telephone calls onto consumers. See Barr v. Am. Ass’n of Pol. Consultants, Inc,
140 S. Ct. 2335, 2363, (2020) (Gorsuch, J. & Thomas, J., concurring in part and dissenting in
part).

12. According to findings by the Federal Communication Commission (“FCC”), the
agency Congress vested with authority to issue regulations implementing the TCPA, such calls
are prohibited because, as Congress found, automated or prerecorded telephone calls are a
greater nuisance and invasion of privacy than live calls, and such calls can be costly and
inconvenient.

13. | The TCPA provides a private cause of action to persons who receive calls in
violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

14. This cause of action applies to users of any one of the four protected services
(pager, cellular, specialized mobile radio [i.e. radiotelephony locator beacons or dispatch
systems], or another radio common carrier service [i.e. ship-to-shore or air-to-ground]), or any
service, including residential, VoIP, and landline services, for which the called party is charged

for the call. See Perrong v. Victory Phones LLC, No. 20-5317 (E.D. Pa. July 15, 2021).
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The Growing Problem of Automated Telemarketing

15. “Robocalls and telemarketing calls are currently the number one source of
consumer complaints at the FCC.” Tom Wheeler, Cutting Off Robocalls, FCC, (July 22, 2016,
10:30 AM), https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
[https://archive.is/w2afC] (statement of FCC chairman).

16. “The FTC receives more complaints about unwanted calls than all other
complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer
Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of
1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016),
https://www.ftc.gov/system/files/documents/advocacy_documents/commentstaff-ftc-bureau-
consumer-protection-federal-communications-commission-
rulesregulations/160616robocallscomment.pdf.

17. In fiscal year 2017, the FTC received 4,501,967 complaints about robocalls,
compared with 3,401,614 in 2016. Fed. Trade Comm’n, FTC Releases FY 2017 National Do Not
Call Registry Data Book and DNC Mini Site (Dec. 18, 2017), https://www.ftc.gov/news-
events/press-releases/2017/12/ftc-releases-fy-2017-national-do-not-call-registry-data-book-dne
[https://archive.is/oPZSW].

18. | The New York Times recently reported on the skyrocketing number of robocall
complaints and widespread outrage about illegal telemarketing. Tara Siegel Bernard, Yes, It’s
Bad. Robocalls, and Their Scams, Are Surging, N.Y. Times (May 6, 2018),
https://www.nytimes.com/2018/05/06/your-money/robocalls-rise-illegal.html
[https://archive.is/mS9Fb]; see also Katherine Bindley, Why Are There So Many Robocalls?

Here’s What You Can Do About Them, Wall St. J. (July 4, 2018, 10:30 PM),
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https://www.wsj.com/articles/why-there-are-so-many -robocalls-heres-what-you-can-do-about-
them-1530610203 [https://archive.is/V2UYp].

19. Industry data shows that the number of robocalls made each month increased
from 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three
years. U.S. Endures 4.7 Billion Robocalls in July, According to YouMail Robocall Index,
YouMail (Aug. 6, 2019, 9:00 AM), https://www.prnewswire.com/news-releases/us-endures-4-7-
billion-robocalls-in-july-according-to-youmail-robocall-index-300895976.html
[https://archive.is/pnUSs].

20. According to online robocall tracking service “YouMail,” 5.6 billion robocalls
were placed in October 2019 at a rate of approximately 180.6 million per day. Robocall Index,
YouMail, https://robocallindex.com/ [https://archive.is/fwZD8]. In 2019, YouMail’s robocall
totals exceeded 58.5 billion. Historical Robocalls By Time, YouMail,
https://robocallindex.com/history/time [https://archive.is/X WefY ].

21. | The FCC also has received an increasing number of complaints about unwanted
calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in
2018. Consumer Complaint Data Center, FCC, www.fec.gov/consumer-help-center-data
[https://archive.is/wip/ojuBF].

The National Do Not Call Registry

22. The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 CER. § 64.1200(c)(2).
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23. A listing on the Registry “must be honored indefinitely, or until the registration is
cancelled by the consumer or the telephone number is removed by the database administrator.”
Id.

24. The TCPA and implementing regulations prohibit the initiation of telephone
solicitations to residential telephone subscribers whose numbers are on the Registry and provides
a private right of action against any entity that makes those calls, or “on whose behalf” such calls

are promoted. 47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

Factual Allegations

25. Defendant is in the business of operating and selling, inter alia, residential
satellite internet services.

26. Defendant relies on telemarketing to solicit potential customers for its internet
services.

27. Defendant is not registered as a telemarketer with the Attorney General of
Pennsylvania.

28. One of the strategies used by the Defendant involves the use of automated
telephone calls and text messages. Defendant sends out these call and message blasts en masse to
telephone numbers throughout the area, hoping they reach someone interested in purchasing its
services.

29. Plaintiff Perrong is a “person” as defined by 47 U.S.C. § 153(39).

30. Plaintiff has private telephone numbers of (215) 208-XXXX and (215) 947-
XXXX.

31. The (215) 208-XXXX number is a cellular telephone number.

32. The Plaintiff is charged for each call placed to the (215) 947-XXXX number.
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33. | The numbers are not associated with any business.

34. The Plaintiff registered the numbers on both the Federal and Pennsylvania State
Do-Not-Call registries, was on such registries for more than thirty-one days prior to the calls, and
never removed the numbers from these registries.

35. The numbers are used for Mr. Perrong’s personal residential use.

36. The Plaintiff did not consent to receive the calls/messages complained of herein to
his numbers.

37. Between November 4, 2021 and December 6, 2021, in total, Defendant sent at
least 4 calls using an Automatic Telephone Dialing System (“ATDS”), 1 manually dialed
marketing call, 6 text messages sent using either an ATDS or pre-programmed means, and 1
manually generated text message to the (215) 208-XXXX number.

38. On November 4, 2021, Defendant placed at least one call using an ATDS to the
(215) 947-XXXX number.

39. The Plaintiff also received similar calls identifying Viasat and bearing similar
indicia to the calls complained of here (including using the name ““Telecommunications”) to
other numbers, (215) 436-XXXX and (215) 791-6957. The Plaintiff does not presently sue for
these calls, but reserves the right to amend the pleading to assert claims for calls to these
numbers.

40. The calls and text messages came from various caller IDs, including 215-349-
3114, 215-814-6254, 330-892-7837, 215-642-6132, 737-207-9691, 630-908-5485, and 610-931-

5807.
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41. The initial calls Plaintiff received all stated that the caller was calling from some
variation of “Telecommunications.” The callers were calling to pitch the Plaintiff on an internet
service with a number of benefits and all spoke from the same or similar script.

42. Because of the caller’s use of a generic name, Plaintiff knew that it would not be
easy, or potentially impossible, to identify the caller without scheduling an installation.
Accordingly, Plaintiff scheduled an installation and provided unique information, including
credit card number and e-mail address on November 8, 2021.

43. Plaintiff received a charge on his credit card from Viasat shortly after the
telephone call from the Defendant.

44. Furthermore, the Plaintiff received emails from the Defendant to the unique e-
mail address he provided on the call confirming the installation and providing an account number
on November 9, 2021.

45. All the initial calls began with a “balloon popping” sound. This sound is
indicative of the ViciDial ATDS and is officially known as the “droplet” sound. It is played
automatically as part of a macro when the Asterisk “meetme” application is executed and
signifies that a new connection was established between the called party and a call center
representative that the called party had not previously spoken to.

46. Additionally, two of the calls that came on November 8, 2021 from the caller ID
737-207-9691, came within seconds of each other and rang the Plaintiff’s cell phone
simultaneously before the Plaintiff even had the opportunity to answer the first call.

47. As the Supreme Court recently clarified, the key feature of an ATDS is the
capacity to store numbers to be called using a random or sequential number generator or to

produce numbers to be called using a random or sequential number generator. Facebook, Inc. v.
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Duguid, 141 S. Ct. 1163, 1167 (2021). ViciDial is an ATDS because it has the capacity to store
numbers both randomly and sequentially.

48. Furthermore, the indicia of the calls indicate that the Defendant used an ATDS
because it would be illogical to store numbers or produce numbers in an en masse,
unpersonalized calling campaign other than randomly or sequentially, such as by a human
dialing the number manually. ATDS systems also exhibit strange behavior not typically
associated with manually dialed calls, such as placing multiple calls simultaneously and then
hanging up. The fact that the calls were not at all personalized, exhibited this strange behavior,
and came at random dates and times further supports the inference that the Defendant used an
ATDS, such as one which “use[s] a random [or sequential] number generator to determine the
order in which to pick phone numbers from a preproduced list.” Jd. at 1171 n.7.

49, The caller ID numbers which were used for the initial calls also were “spoofed” to
appear to be random calls from local residents. The caller IDs Plaintiff received the calls from
further support the fact that the system Defendant used had the capacity to store or produce
telephone numbers to be called randomly therefore renders it an ATDS, as they were
manipulated to appear to be calls from local residents. It follows that if the dialer has the capacity
to store or produce random numbers to transmit a caller ID, it also has the capacity to store or
produce random telephone numbers to be dialed, especially because the equipment needed to
manipulate a caller ID to display a random number is far more sophisticated than the equipment
needed to place a call to a random telephone number.

50. After the preliminary calls which resulted in an appointment being scheduled and
Viasat being affirmatively identified, the Plaintiff requested, in writing, that Defendant place him

on its Do-Not-Call list and provide him a copy of its Do-Not-Call policy, on November 9, 2021.
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Plaintiff received no response as of the date of filing this complaint, despite having forwarded
the correspondences to multiple points of contact in Viasat, including Customer Service, the
CEO, CLO, and Audit Committee.

51. Nevertheless, the calls and text messages continued. Plaintiff received 3 text
messages and a call to the (215) 208-XXXX number after November 9, 2021.

52. Because Plaintiff asked to be placed on Defendant’s Do-Not-Call list and was not,
it is evident that Defendant does not maintain such a list. Likewise, based on this fact and the fact
that it did not produce one when requested, it is clear that Defendant does not have any Do-Not-
Call policies or procedures in place. Based on the nature of its illegal activities, Defendant’s
noncompliance with the law in this regard is unsurprising.

53. The Plaintiff is ignorant of the exact process by which the system(s) used by the
Defendant operate other than drawing the reasonable inference and making the allegation that it
was ViciDial and that it stores or produces telephone numbers randomly or sequentially based on
the facts ascertainable from the calls he received, as outlined above. Indeed, as at least one
district court explained, “The newly clarified definition of an ATDS is more relevant to a
summary judgment motion than at the pleading stage. Gross v. GG Homes, Inc., No. 3:21-cy-
00271-DMS-BGS, 2021 WL 2863623, at *7 (S.D. Cal. July 8, 2021); accord Miles v.
Medicredit, Inc., No. 4:20-cv-01186-JAR, 2021 WL 2949565 (E.D. Mo. July 14, 2021).

54. The Plaintiff never provided his consent or requested these calls.

55. The Plaintiff was charged for the calls to the (215) 947-XXXX number.

56. | The communications received by Plaintiff demonstrate that the messages were

sent for the purpose of encouraging the purchase or rental of, or investment in, property, goods,

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or services as they pitched satellite internet services. The messages therefore qualified as
telemarketing. See 47 C.F.R. § 64.1200()(12).

57. Upon information and belief, Defendant pays unknown third parties to perform
calling for them. These Defendants were involved in some fashion in placing the illegal calls the
Plaintiff received. However, without the benefit of discovery, the specific details and exact
technical role they played in the calls the Plaintiff received remain a mystery.

58. Indeed, an FCC Ruling states that called parties may obtain “evidence of these
kinds of relationships . . . through discovery, if they are not independently privy to such
information.” In re DISH Network, LLC Declaratory Ruling Petition, 28 FCC Red. 6574, 6592—
93 (2013).

59. Plaintiff was harmed by these calls. He was temporarily deprived of legitimate
use of his phone because his phone line was tied up during the calls and his privacy was
improperly invaded. The Plaintiff was charged for some of the calls. They wasted network
resources, bandwidth, power, and battery life. Moreover, these calls injured Plaintiff because
they were frustrating, obnoxious, annoying, were a nuisance and disturbed the solitude of

Plaintiff.

Legal Claims

Count One:
Violation of the TCPA’s Prohibition Against Calling Numbers for Which the Called Party is
Charged with an Artificial or Prerecorded Voice
60. By placing at least eleven calls to the Plaintiff using both a ATDS and/or artificial
or prerecorded text messages, Defendant violated 47 U.S.C. § 227(b)(1)(A)(@iii).

61. The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute at least eleven violations of the

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TCPA, 47 U.S.C. § 227(b), by making calls, except for emergency purposes, to the telephone
line of Plaintiff using an ATDS or using artificial or prerecorded text messages to a cellular
telephone number or number for which the called party is charged for the calls.

62. Asaresult of Defendant’s and/or its affiliates, agents, and/or other persons or
entities acting on its behalf’s violations of the TCPA, 47 U.S.C. § 227(b), Plaintiff is entitled to
an award of $500 in damages for each and every violation of the statute, pursuant to 47 U.S.C.
§ 227(b)(3)(B).

63. Plaintiff is also entitled to and does seek injunctive relief prohibiting Defendant
and/or its affiliates, agents, and/or other persons or entities acting on its behalf from violating
these provisions in 47 U.S.C. § 227(b) in the future.

64. The Defendant’s violations were knowing and/or willful. Accordingly, the
Plaintiff seeks up to treble damages of the $500 per violation award, as provided in 47 U.S.C. §

227(b)(3)(B).

Count Two:
Violation of the Pennsylvania Telemarketer Registration Act

73 Pa. Cons. Stat. § 2241

65. By placing at least thirteen telemarketing calls to the Plaintiff without registering
as telemarketers under Pennsylvania law, Defendant violated 73 Pa. Cons. Stat. § 2243.
Moreover, by failing to identify themselves in the messages, Defendant violated 73 Pa. Cons.
Stat. § 2245.1.

66. This constitutes thirteen violations of the Pennsylvania Unfair Trade Practices and

Consumer Protection Law. 73 Pa. Cons. Stat. § 2246(a).

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67. The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or
other persons or entities acting on Defendant’s behalf constitute numerous and multiple
violations of the Pennsylvania Telemarketer Registration Act (PTRA), 73 Pa. Cons. Stat. § 2241,
including by making calls to Plaintiffs number, on the Pennsylvania Do-Not-Call registry,
without registration.

68.  Asaresult of Defendant’s and/or its affiliates, agents, and/or other persons or
entities acting on its behalf’s violations of the PTRA, 73 Pa. Cons. Stat. § 2241, Plaintiff is
entitled to an award of $300 in damages for each and every call made to his telephone number in
violation of the statute, pursuant to the Pennsylvania Unfair Trade Practices and Consumer
Protection Law, 73 Pa. Cons. Stat. § 201. See 73 Pa. Cons. Stat. § 2246(a).

69. Plaintiff is also entitled to and does seek injunctive relief prohibiting Defendant
and/or its affiliates, agents, and/or other persons or entities acting on its behalf from violating the

PTRA in the future.

Count Three:
Violation of the TCPA’s Implementing Regulations
Codified at 47 C.F.R. § 64.1200

70. By placing at least thirteen telemarketing calls to the Plaintiff, whose number is
on the Do-Not-Call registry, failing to have a written Do-Not-Call policy, and failing to maintain
the Plaintiff on its Do-Not-Call list, Defendant, jointly and severally, violated 47 U.S.C. §
227(c)(5) by violating the implementing regulations codified in 47 C.F.R. § 64.1200(c) and (d).

71. This amounts to thirty-nine violations since Defendant committed three violations

per call. The first violation is calling a number on the national Do-Not-Call registry. 47 C.F.R. §

64.1200(c)(2). The second violation is by calling Plaintiff without having a Do-Not-Call policy

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in place. 47 C.F.R. § 64.1200(d)(1). The third violation is by calling Plaintiff without
maintaining the Plaintiff on its internal Do-Not-Call list. 47 C.F.R. § 64.1200(d)(6).

72. The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or
other persons or entities acting on Defendant’s behalf constitute at least thirty-nine violations of
the TCPA, 47 U.S.C. § 227(c), codified at 47 C.F.R. § 64.1200, by, inter alia, refusing to scrub
against the National Do-Not-Call registry, refusing to maintain Mr. Perrong’s number on an
internal Do-Not-Call list, and failing to have a Do-Not-Call policy.

73. | Asaresult of Defendant’s and/or its affiliates, agents, and/or other persons or
entities acting on its behalf’s violations of the TCPA, 47 U.S.C. § 227(c), Plaintiff is entitled to
an award of $500 in damages for each and every call and violation made to his telephone number
in violation of the TCPA’s implementing regulations codified at 47 C.F.R. § 64.1200, pursuant
to 47 U.S.C. § 227(c)(5)(B).

74. Plaintiff is also entitled to and does seek injunctive relief prohibiting Defendant
and/or its affiliates, agents, and/or other persons or entities acting on its behalf from violating the
TCPA, 47 U.S.C. § 227(c), by making calls in violation of any of the TCPA’s implementing
regulations in the future.

75. The Defendant’s violations were knowing and/or willful. Accordingly, the
Plaintiff seeks up to treble damages of the $500 per violation award, as provided in 47 U.S.C. §
227(b)(3)(B).

Relief Sought
WHEREFORE, Plaintiff requests the following relief:
a. Injunctive relief prohibiting Defendant from calling telephone numbers

using an ATDS, making calls using an artificial or prerecorded voice, and/or in violation of the

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PTRA, and/or in violation of the TCPA’s implementing regulations.

b. Because of Defendant’s violations of the TCPA’s restrictions in 47 U.S.C.
§ 227(b), Plaintiff Perrong seeks for himself $500 in damages for each violation or—where such
regulations were willfully or knowingly violated—up to $1,500 per violation, pursuant to 47
USS.C. § 227(b)(3).

C. Because of Defendant’s violations of the PTRA, Plaintiff Perrong seeks
for himself $300 in damages for each violation, pursuant to 73 Pa. Cons. Stat. § 201-9.2(a).

d. Because of Defendant’s violations of the TCPA’s implementing
regulations, Plaintiff Perrong seeks for himself $500 in damages for each violation or—where
such regulations were willfully or knowingly violated—up to $1,500 per violation, pursuant to
47 U.S.C. § 227(c)(5).

é Such other relief as the Court deems just and proper.
Plaintiff requests a jury trial as to all claims of the complaint so triable.

Dated: December 7, 2021

Andrew R. Perrong
Plaintiff Pro-Se

1657 The Fairway #131
Jenkintown, PA 19046
Phone: 215-791-6957
Facsimile: 888-329-0305
andyperrong@gmail.com

 

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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Addtess of Plaintiff: 1657 THE FAIRWAY #131, JENKINTOWN, PA 19046

 

waar aetien 1209 ORANGE ST., WILMINGTON, DE 19801

 

Place of Accident, Incident or Transaction: BY TELEPHPONE CALL TO MY PRIVATE TELEPHONE

 

 

RELATED CASE, IF ANY:

 

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [_ No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes Lal No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No

case filed by the same individual?

I certify that, to my knowledge, the within case Cis / ©] is not related to any case now pending or within one year previously terminated action in

this court except as noted above.
pate, 12/07/2021 woe = il dai PRO SE

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

 

 

CIVIL: (Place a V in one category only)
Federal Question Cases: Diversity Jurisdiction Cases:

Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts

FELA Airplane Personal Injury

Jones Act-Personal Injury Assault, Defamation

Antitrust Marine Personal Injury

Patent Motor Vehicle Personal Injury
Labor-Management Relations Other Personal Injury (Please specify):
Civil Rights Products Liability

Habeas Corpus Products Liability — Asbestos
Securities Act(s) Cases . Allother Diversity Cases
Social Security Review Cases (Please specify):

DOOOOOOOOO »

 

SOOOOOO0000

All other Federal Question Cases
(Please specify): TELEPHONE CONSUMER PROTECTION

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

, ANDREW R. PERRONG

, counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.
DATE: 12/07/2021 CA. Sign Sn “ae PRO SE

Attorney-at-Law / Pro Se Plaintiff Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 04/21)

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I, (a) PLAINTIFFS
ANDREW R. PE

RRONG

1657 THE FAIRWAY #131, JENKINTOWN, PA 19046

(b) County of Residence of First Listed Plaintiff MONTGOMERY
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

ANDREW R. PE

RRONG (PRO SE)

1657 THE FAIRWAY #131, JENKINTOWN, PA 19046

DEFENDANTS

VIASAT, INC.
1209 ORANGE

NOTE:

Attorneys (If Known)

 

County of Residence of First Listed Defendant

ST., WILMINGTON, DE 19801
NEW CASTLE

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

oO 1 U.S. Government
Plaintiff

[_]2 U.S. Government
Defendant

3 Federal Question

(U.S. Government Not a Party)

C4 Diversity

(Indicate Citizenship of Parties in Item II)

(For Diversity Cases Only)

Foreign Country

III, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State me O 1 Incorporated or Principal Place oO 4 oO 4
of Business In This State
Citizen of Another State CT 2 CJ 2 Incorporated and Principal Place Oo 5 CT 5
of Business In Another State
Citizen or Subject of a O13 oO 3 Foreign Nation inl 6 Ce

 

IV. NATURE OF SUIT (Place an

 

Click here for: Nature of Suit Code Descriptions.

 

“X” in One Box Only)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | ]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CL 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | }690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability [_] 367 Health Care/ INTELLECTUAL 400 State Reapportionment
[_] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS [| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
r 152 Recovery of Defaulted Liability C 368 Asbestos Personal r 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trad k Corrupt Organizations
(_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR |] 880 Defend Trade Secrets |] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[} 160 Stockholders’ Suits 355 Motor Vehicle 4 371 Truth in Lending Act X] 485 Telephone Consumer
[] 190 Other Contract Product Liability {__] 380 Other Personal |_]720 Labor/Manag SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury Oo 385 Property Damage |" Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |] 890 Other Statutory Actions
_ REAL PROPERTY ~— CIVIL RIGHTS ~~ | PRISONER PETITIONS 790 Other Labor Litigation | 865 RSI (405(g)) | 891 Agricultural Acts
| _|210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |_| 893 Environmental Matters
[_]220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations T | 530 General Hl 871 IRS—Third Party -| 899 Administrative Procedure
[| 290 All Other Real Property | 445 Amer. w/Disabilities -[__] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
; Other 550 Civil Rights Actions State Statutes

 

448 Education

555 Prison Condition
560 Civil Detainee -
Conditions of

 

 

Confinement

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original

Proceeding Stat

VI. CAUSE OF ACTION

2 Removed from

e Court

Brief description of ca

 

3. Remanded from
Appellate Court

Re

use:

| 4 Reinstated or i 5 Transferred from
Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
TELEPHONE CONSUMER PROTECTION ACT, 47 USC 227; 47 CFR 64.1200

opened

DEFENDANTS CALLED PLAINTIFF IN VIOLATION OF THE TCPA

6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

 

 

 

 

 

VII. REQUESTED IN = ([] CHECK IFTHISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. 78,900 JURY DEMAND: [Ix]Yes [No
VIII. RELATED CASE(S)

‘See instructions):
IF ANY (See insiructions) np DOCKET NUMBER
LAL
DATE SIGNATURE eZ F |
12/7/2021
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
